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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:09-cr-00011-MP-AK

JOSE SANCHEZ,
ROGELIO CABRERA, and
JORGE ALBERTO PEREZ,

      Defendants.
_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 90, Second Motion to Continue Trial, filed by

Defendant Rogelio Cabrera. On June 30, 2009, the Court held a telephonic hearing to discuss

the status of the jury trial, which is currently scheduled for July 14, 2009. With the exception of

Reinaldo Rodriguez, counsel for Defendant Jose Sanchez, counsel for all parties participated in

the hearing. At the hearing, counsel for Defendant Jorge Alberto Perez initially objected to any

continuance. The parties acknowledged, however, that Defendant Sanchez has filed a motion to

suppress (Doc. 91), consideration of which will necessarily delay the start of trial. The Court

therefore proposed and the parties agreed to schedule a hearing on the motion to suppress for

July 14, 2009, and to continue the trial to the trial period beginning August 11, 2009. The Court

finds that the ends of justice served by granting this continuance outweigh the interests of the
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defendants and the public in a speedy trial. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       A hearing on Defendant Jose Sanchez’s motion to suppress (Doc. 91) is set for
                 Tuesday, July 14, 2009, at 1:30 p.m. The government shall file its response to the
                 motion by 5:00 p.m. on Wednesday, July 8, 2009.

        2.       The motion to continue (Doc. 90) is GRANTED. The defendants’ trial is
                 continued to the trial period beginning Tuesday, August 11, 2009.

        DONE AND ORDERED this 30th day of June, 2009

                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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